RCH/AXB/LZ
F.#2022R01030

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

       -against-                                     STIPULATION & PROTECTIVE ORDER

SAMUEL MIELE,                                                23-CR-327 (JS)

                  Defendant.
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               IT IS HEREBY STIPULATED AND AGREED by the undersigned attorneys and

ORDERED by the Court, pursuant to Federal Rule of Criminal Procedure 16(d), that:

               1.      All material and information disclosed or produced by the government to

the defendant (the “Defendant”) and the Defendant’s counsel (“Defense Counsel”) in the above-

captioned case (hereinafter, the “Confidential Discovery Materials”), including, but not limited to,

material and information disclosed or produced pursuant to Rule 16 of the Federal Rules of

Criminal Procedure; 18 U.S.C. § 3500; Brady v. Maryland, 373 U.S. 83 (1963); or Giglio v. United

States, 405 U.S. 150 (1972), shall be governed by this protective order (the “Protective Order”).

               2.      Confidential Discovery Materials, however designated, and any and all

copies, notes, transcripts, documents, and other information and materials derived or prepared from

the Confidential Discovery Materials, may be used by the Defendant, Defense Counsel and

Defense Staff (which is defined as non-lawyer staff employed by Defense Counsel, as well as

expert witnesses, investigators and interpreters retained by Defense Counsel) only for the purposes




                                                 1
of defending against the charges in the above-captioned case, including but not limited to

preparation for pre-trial hearings, trial and any sentencing, appeal, or collateral attack (commenced

within a year of the exhaustion of the Defendant’s appellate rights) involving the charges in the

above-captioned case.

                3.      Defense Counsel shall review the terms of this Protective Order with the

Defendant and members of the Defense Staff. Further, Defense Counsel shall have the Defendant

and every member of the Defense Staff sign an acknowledgement form provided by the

government affirming that they understand the terms of the Protective Order and consequences of

violating the Protective Order prior to reviewing any of the Confidential Discovery Materials.

Defense Counsel shall keep an accounting of the pages of the Confidential Discovery Materials

provided to members of the Defense Staff absent prior agreement of the government or permission

of the Court.

                4.      Defense Counsel may disclose or discuss Confidential Discovery Materials

to or with a person being contacted or interviewed by Defense Counsel or Defense Staff as a

potential witness, provided that Defense Counsel first has taken the following steps: (a) provided

to each such individual a copy of this Protective Order and advised each such individual that he or

she may not further disclose or discuss any portion of the Confidential Discovery Materials, or any

copies, notes, transcripts, or documents derived or prepared from the Confidential Discovery

Materials; (b) admonished each such individual that any violation of the Protective Order, as

determined by the Court, may result in a finding of contempt of Court; and (c) recorded in a log to

be retained in Defense Counsel’s files the name of each such individual and the date on which

Defense Counsel took each of the steps detailed above in subparagraphs 4(a)-(b) (the “Confidential

Discovery Materials Disclosure Protocol”). Defense Counsel may provide a copy of Confidential

Discovery Materials to potential witnesses or their counsel, provided that Defense Counsel follows

                                                 2
the Confidential Discovery Materials Disclosure Protocol prior to sharing Confidential Discovery

Materials with such potential witnesses and directs such potential witnesses to delete the

Confidential Discovery Materials after use. Before disclosing Confidential Discovery Materials

pursuant to this paragraph, Defense Counsel must redact information of the type identified in Rule

49.1(a) of the Federal Rules of Criminal Procedure.

               5.      Except as otherwise provided in this Protective Order, any and all

Confidential Discovery Materials disclosed or produced to the Defendant and/or Defense Counsel

by the government, and any copies, notes, transcripts, documents, and other information and

materials derived or prepared from the Confidential Discovery Materials, shall not be further

disclosed, disseminated, or discussed by the Defendant, Defense Counsel, or Defense Staff to, or

with, any individuals, organizations, or other entities.

               6.      None of the Confidential Discovery Materials nor any copies, notes,

transcripts, documents, or other information and materials derived or prepared from the

Confidential Discovery Materials shall be disseminated to, or discussed with, the media in any

form. Nothing in this Protective Order prohibits the media from obtaining copies of any items that

become public exhibits at any conference, hearing, trial, or other proceeding.

               7.      Absent prior agreement of the government or permission of the Court,

Confidential Discovery Materials shall not be included by Defense Counsel in any public filing

with the Court, and instead shall be submitted under seal. This restriction does not apply to

documents that are or become part of the public domain (other than through a violation of the

Protective Order) or the public court record, including documents that have been received in

evidence at other trials. This restriction further does not apply to materials or information that are

acquired by Defense Counsel from sources other than the government in this case.

               8.     If the government and Defense Counsel do not agree that certain material

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should be designated as Confidential Discovery Material, Defense Counsel may provide notice to

the government and a reasoned explanation why the Defendant does not believe the materials

qualify as Confidential Discovery Material. To the extent the parties do not agree, Defense

Counsel may make an application to the Court and seek to establish good cause regarding why the

material should not be treated as Confidential Discovery Material. The Defendant shall treat the

material as Confidential Discovery Material pending any determination by the Court.

               9.      If the Defendant obtains substitute counsel, the Defendant, Defense Staff,

or Defense Counsel will not transfer any portion of the Confidential Discovery Materials or any

copies, notes, transcripts, documents, or other information and materials derived or prepared from

the Confidential Discovery Materials unless and until such counsel becomes counsel of record, has

been provided a copy of this Protective Order, signs this Protective Order, and provides a signed

copy to the government.

               10.     The Defendant may review Confidential Discovery Materials specifically

identified by the government as sensitive discovery material (the “Sensitive Discovery Material”)

only in the presence of or by video conference with Defense Counsel or Defense Staff. The

Defendant is prohibited from having possession, custody, or control of the Sensitive Discovery

Material, and any and all copies, notes, transcripts, documents, and other information and materials

derived or prepared from the Sensitive Discovery Material.

               11.     The Defendant, Defense Counsel, and Defense Staff shall not obtain or

create any copies of the Sensitive Discovery Material for disclosure or dissemination to any person

other than Defense Counsel and Defense Staff.

               12.     If Defense Counsel chooses to share the Sensitive Discovery Material with

the Defendant, a witness, and/or a witness’s counsel, that Sensitive Discovery Material must be

shared in the presence of or by video conference with Defense Counsel or Defense Staff.

                                                 4
               13.     Any documents, material, or information determined to be Sensitive

Discovery Material may be so designated by stamping the legend “SENSITIVE” on the document

or by otherwise indicating to Defense Counsel the appropriate designation of the material or

information. While each page of a sensitive document and its attachments may be marked, it shall

be assumed that a sensitive designation on the first page of a document indicates the same sensitive

designation for the entire document and its attachments, unless otherwise noted. Where electronic

files or documents are produced in a format that makes stamping impractical, such files and

documents may be designated via notice appended to the media on which such files or documents

are produced or added to the name of the file or electronic folder in which the file is located.

               14.     If the government and Defense Counsel do not agree that certain material

should be designated as Sensitive Discovery Material, Defense Counsel may provide notice to the

government and a reasoned explanation why the Defendant does not believe the materials require

treatment as Sensitive Discovery Material. To the extent the parties do not agree, Defense Counsel

may make an application to the Court and seek to establish good cause regarding why the material

should not be treated as Sensitive Discovery Material. The Defendant shall treat the material as

Sensitive Discovery Material pending any determination by the Court.

               15.     A copy of this Protective Order shall be kept with the Confidential

Discovery Materials at all times.

               16.     The Defendant and Defense Counsel will return to the government the

Confidential Discovery Materials and the Sensitive Discovery Material, and all copies thereof,

whether in the possession of the Defendant, Defense Counsel, Defense Staff, or any other signatory

to this Protective Order, when the Defendant concludes all efforts to defend against the charges in

the above-captioned case and any superseding indictment, including but not limited to preparing

for trial and any sentencing, appeal, or collateral attack (commenced within a year of the

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exhaustion of the Defendant’s appellate rights) involving the charges in the above-captioned case.

               17.    Nothing in this Protective Order shall preclude the government or the

Defendant from seeking a further order pursuant to Rule 16(d) as to particular items of the

Confidential Discovery Materials.

               18.    Nothing in this Protective Order in any way releases counsel for the

government or Defense Counsel from the obligations of the “Free Press-Fair Trial Directives” of

Local Rule 23.1 of the Local Criminal Rules of the Eastern District of New York. In the event the

terms of this Protective Order are violated, Defense Counsel or the government shall advise the

Court and opposing counsel immediately of the nature and circumstances of such violation.




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              19.     This Court shall retain jurisdiction over all persons subject to this Order to

the extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereof.

Dated:        Central Islip, New York
              August __, 2023

                                                     BREON PEACE
                                                     United States Attorney
                                                     Eastern District of New York


                                                     By:
Kevin H. Marino, Esq.                                Ryan C. Harris
John D. Tortorella, Esq.                             Anthony Bagnuola
Marino Tortorella & Boyle, P.C.                      Laura Zuckerwise
Attorneys for Defendant                              Assistant United States Attorneys


                                                     COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     U.S. Department of Justice

                                                     By: ___________________________
                                                     John Taddei
                                                     Jacob R. Steiner
                                                     Trial Attorneys


SO ORDERED.




THE HONORABLE JOANNA SEYBERT
UNITED STATES DISTRICT JUDGE
EASTERN DISTRICT OF NEW YORK




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